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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION



UNITED STATES OF AMERICA,                 §
                                          §
                     Plaintiff,           §
                                          §
v.                                        §          CIVIL ACTION NO. H-13-1734
                                          §          (CRIMINAL NO. H-10-412-02)
SAMUEL JOSEPH JACKSON,                    §
                                          §
                     Defendant.           §



                          MEMORANDUM OPINION AND ORDER


        The defendant, Samuel Joseph Jackson, has filed a Petition for

a Writ of Habeas Corpus By a             Person in State Custody under 28

U.S.C.    §   2254   ("Motion for Relief")      (Docket Entry No. 455)1 and a

Memorandum of        Law in Support      of Defendant's         28   U. S. C.   §   2255

(Docket Entry No. 456).           The United States has filed a Motion to

Dismiss Movant's Untimely 2255 Motion, and, Alternatively, Motion

to   Dismiss     Pursuant    to    Movant's    Plea    Agreement      Waiver;       and,

Alternatively, Motion to Dismiss Movant's 2255 Motion ("Motion to

Dismiss")       (Docket   Entry No.    481),    to    which Jackson has             filed

Defendant's Reply to the Government's Motion to Dismiss or Motion

for Summary Judgment         (Docket Entry No.         488).     Jackson has al so

filed    a    motion   titled     "Official    Transcript      Contains     Protected


      1All docket entry references are to Criminal No. H-10-412.
Jackson's motion uses the form for a petition under 28 U.S.C. §
2254.   It is clear from his Memorandum in Support that Jackson
intended this to be a motion pursuant to 28 U.S.C. § 2255, and the
government has treated it as such in its Motion to Dismiss.
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Information,      By    Government     Act    of   2002,     Fed.R.Civ.P.5.2(a)"

("Motion     to   Redact")   (Docket    Entry No.     477).       The   court   has

considered the parties' arguments and is persuaded that the United

States' Motion to Dismiss should be granted, Jackson's Motion to

Redact should be denied, and this action should be dismissed.

       Before reaching the merits of Jackson's motion, the government

presents two threshold issues that it argues call for dismissal.

First,   the government argues that Jackson's motion was untimely

filed.     Second,     the government argues that Jackson's claims are

subject to the waiver of appeal in his plea agreement.                  Since the

court concludes that Jackson's motion was timely,2 it addresses

only the second issue in detail.

       Pursuant to a written Plea Agreement                (Docket Entry No.    196

(sealed)),    Jackson pleaded guilty to conspiracy to possess with

intent to distribute phencyclidine (PCP) in violation of 21 U.S.C.

§§   846, 841(a) (1), and 841(b) (2) (A) (iv)

       Jackson's plea agreement states:

                              Waiver of Appeal

            9.   Defendant is aware that Title 18, U. S. C. § 3742
       affords a defendant the right to appeal the sentence
       imposed.  The defendant agrees to waive the right to


     2As the court determined in its May 30, 2013, Memorandum and
Recommendation (Docket Entry No. 445 (sealed)), adopted on July 18,
2013   (Docket Entry No. 449),     a motion attacking Jackson's
conviction would have to be filed on or before June 6, 2013.
Docket Entry No. 445, p. 6. Jackson deposited his petition in the
prison mailing system on June 5, 2013. See Docket Entry No. 455,
pp. 10-11.

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     appeal the sentence imposed or the manner in which it was
     determined on any grounds set forth in Title 18 U.S.C.
     §  3742.   Additionally, the defendant is aware that
     Title 28, U.S.C. § 2255, affords the right to contest or
     "collaterally attack" a conviction or sentence after the
     conviction or sentence has become final.    The defendant
     waives the right to contest his conviction or sentence by
     means of any post-conviction proceeding, including but
     not l~ited to Title 28, U.S.C. § 2255. 3

     At Jackson's rearraignment, the following colloquy occurred

between Jackson and the court:

THE COURT:       Now,  if you will both please listen to me
                 carefully.4 Before I can accept your guil ty pleas,
                 I must ask each of you a number of questions. It
                 is very important that you listen carefully to all
                 of my questions and that you answer all of my
                 questions truthfully and completely for several
                 reasons. First, since you are now under oath, if
                 you gave an untrue answer to a question, you could
                 be charged with a separate crime of perjury.

                 Do each of you understand that?

THE DEFENDANT:   Yes, sir.



THE COURT:       Also, before I can accept your guilty pleas, I
                 must make a number of findings.    My findings are
                 based on your answers to my questions.    In order
                 for my findings to be correct, it is therefore
                 necessary that all of your answers be truthful and
                 complete.


THE COURT:       And, Mr. Jackson, do you understand that?



    3Plea Agreement, Docket Entry No. 196          (sealed), pp. 6-7        ~   9
(emphasis in original) .

     4Jackson was rearraigned along with his co-defendant, Chatela
Jackson. Colloquy between the court and Chatela Jackson has been
omitted for brevity and clarity.

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THE DEFENDANT:     Yes, sir.

THE COURT:         If you do not understand anything that I say, will
                   you please ask me to repeat or explain whatever
                   you do not understand?



THE COURT:         Mr. Jackson, will you do that?

THE DEFENDANT:     Yes, sir.

THE COURT:         Also, each of you may stop at any time and speak
                   with your own attorney. You do not need anyone's
                   permission to speak to your attorney.

                   Let me emphasize to you the importance of
                   providing complete answers.    Sometimes after a
                   defendant has been sentenced, a defendant will
                   file a motion or write me a letter in which the
                   defendant states that the answers provided at the
                   rearraignment were not true or were not complete.

                   You need to understand that I'm going to rely
                   today and at all times in the future on the
                   answers you give me today.     If you should ever
                   tell me something in the future that is different
                   from what you have told me today, I will disregard
                   that future statement and rely only on what you
                   have told me today.

                   Ms. Jackson, do you understand that?

CHATELA JACKSON:      Yes, sir.

THE COURT:         Do you, Mr. Jackson?

THE DEFENDANT:     Yes, sir.



THE COURT:         Mr. Jackson, how old are you?

THE DEFENDANT:     I'm 35.

THE COURT:         Where were you born?

THE DEFENDANT:     Houston, Texas.

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THE COURT:        Did you graduate from high school?

THE DEFENDANT:    No, sir.

THE COURT:        How many years of school did you complete?

THE DEFENDANT:    Ten.

THE COURT:        After you left school, did you take any other type
                  of courses or have any other formal education?

THE DEFENDANT:    GED.

THE COURT:        You have aGED?

THE DEFENDANT:    Yes, sir.

THE COURT:        Where did you obtain the GED?

THE DEFENDANT:    Downtown,     University     of   Houston,    if   I'm not
                  mistaken.

THE COURT:        What is the last job you held?

THE DEFENDANT:    Rim -- tire shop, cellphone store and tire shop.

THE COURT:        Have you ever been diagnosed or treated for any
                  type of mental problem?

THE DEFENDANT:    No, sir.



THE COURT:        How many times have you spoken with your attorney
                  about this case?

THE DEFENDANT:    Eight to 10 times.

THE COURT:        Has he discussed with you the charges against you
                  and what the government would have to prove to
                  establish your guilt?

THE DEFENDANT:    Yes, sir.

THE COURT:        Has your lawyer discussed with you the evidence
                  that the government has against you?

THE DEFENDANT:    Yes, sir.

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THE COURT:        Has he discussed with you how the federal advisory
                  sentencing guidelines might apply in your case?

THE DEFENDANT:    Yes, sir.

THE COURT:        Has your lawyer answered all of your questions?

THE DEFENDANT:    Yes, sir.

THE COURT:        Has he done everything that you have asked him to
                  do?

THE DEFENDANT:    Yes, sir.

THE COURT:        Are you fully satisfied with the advice and
                  counsel that your lawyer has provided you?

THE DEFENDANT:    Yes, sir.



THE COURT:        The maximum sentence that you face is life in
                  prison. You face a minimum of 10 years in prison.
                  In addition to any period of imprisonment, you
                  face a fine of up to $10 million, five years of
                  supervised release and a $100 special assessment.
                  There is no parole in federal court.   That means
                  you will actually have to serve your sentence in
                  prison.



                  I I m not trying to scare you, but the Rules of
                  Criminal Procedure require that I fully inform you
                  of the effect of your plea, so you need to
                  understand the possible consequences.     What you
                  also need to understand today is that this process
                  of determining your sentence has not yet begun, as
                  I explained to you a moment ago.     So you don It
                  really know now what your sentence is going to be.
                  And if the sentence that I should impose is
                  greater than what you now expect or greater than
                  the sentence that your lawyer or anyone else may
                  have predicted, you will be bound by your guilty
                  plea today regardless of your sentence. You will
                  not be allowed to change your mind and withdraw
                  your guilty plea because you are not satisfied
                  with your sentence.

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THE COURT:        Mr. Jackson, have you read your plea agreement?

THE DEFENDANT:    Yes, sir.

THE COURT:        Have you discussed it with your attorney?

THE DEFENDANT:    Yes, sir.

THE COURT:        Do you have a copy before you?

THE DEFENDANT:    Yes, sir.

THE COURT:        I want to go over the essential parts of the
                  agreement now, just to be sure that you understand
                  them.

                  Both agreements provide in the first paragraph
                  that you agree to plead guilty to Count One of the
                  indictment, which I described earlier.     Each of
                  your agreements provides in paragraph seven that
                  the agreement carries the potential for a motion
                  for downward departure under Section 5Kl.l of the
                  sentencing   guidelines.     But   the   defendant
                  understands and agrees that whether such a motion
                  is filed will be determined solely by the United
                  States Attorney.

                  What you need to understand about that provision
                  is that if the United States Attorney should
                  decide not    to file   a  motion for downward
                  departure, there is nothing that you can do about
                  it.



                  Paragraph nine of your agreement provides that you
                  agree to waive your right to appeal the sentence
                  imposed or the manner in which it was determined,
                  and you agree to waive the right to contest your
                  conviction   or   sentence   by   means   of   any
                  post-conviction proceeding, including, but not
                  limited to, one brought under Title 28, United
                  States Code, Section 2255.



                  Mr. Jackson, have you discussed this provision of
                  your plea agreement with your attorney?

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THE DEFENDANT:    Yes, sir.

THE COURT:        As a part of your plea agreement, do you wish to
                  give up your right to appeal the sentence imposed
                  or the manner in which it was determined?

THE DEFENDANT:    Yes, Your Honor.

THE COURT:        Do you also wish to give up the right to contest
                  your conviction or sentence by means of any
                  post-conviction proceeding including, but not
                  limited   to,  one   brought  under  Title   28,
                  United States Code, Section 2255?

THE DEFENDANT:    Yes, sir.



THE COURT:        Mr. Jackson, have I correctly described your
                  agreement with the government as you understand
                  it?

THE DEFENDANT:    Yes, sir.

THE COURT:        Other than what is stated in this written plea
                  agreement, has the United States government made
                  any promises to you in connection with your guilty
                  plea?

THE DEFENDANT:    No, sir.

THE COURT:        Has anyone threatened you or forced you to plead
                  guilty?

THE DEFENDANT:    No, sir.

THE COURT:        Has anyone promised you what your sentence will be
                  if you plead guilty?

THE DEFENDANT:    No, sir.s


     5Transcript of Rearraignments Before the Honorable Sim Lake
United States District Judge, Docket Entry No. 467, p. 4 line 17
through p. 5 line I, p. 5 line 3 through line 7, p. 5 line 10
through line 14, p. 5 line 17 through p. 6 line II, p. 9 line 12
through p. 10 line 8, p. 11 line 7 through p. 12 line 3, p. 12
line 22 through p. 13 line 2, p. 14 line 2 through line 14, p. 15
line 10 through p. 16 line 5, p. 16 line 15 through line 20, p. 17
line 7 through line 18, p. 19 line 23 through p. 20 line 10.

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       At the conclusion of the hearing the court found that Jackson

was fully competent and capable of entering an informed plea, that

the plea was knowing and voluntary, and that it was supported by an

independent basis in fact establishing each element of the offenses

charged. 6 The court therefore accepted Jackson's plea and adjudged

him guilty. 7

       The court concludes that Jackson knowingly and voluntarily

waived his right to collaterally attack his conviction or sentence

and that the claims in his § 2255 motion are subject to the waiver.

Jackson        argues    that     his    guilty    plea    was     not     knowingly       and

intelligently made because "he was promised a specific leniency if

he pleaded guilty and cooperated with authorities and did not get

what     was    promised. 118       Because       this    is    directly       contrary     to

statements       in Jackson's plea colloquy,               the argument         is without

merit.         Jackson's        second    argument,      that     he     had   ineffective

assistance       of     counsel    at    sentencing      and    after,    is    subj ect    to

Jackson's waiver of appeal.               See United States v. White, 307 F.3d

336, 340, 343-44 (5th Cir. 2002).

       Jackson's Motion to Redact              (Docket Entry No.           477)    requests

that the court remove from the "official transcripts electronically

filed by the court" information protected under Fed. R.                            Civ.     P.


       6Id. at p. 27 lines 6-11.

       7Id. lines 11-12.

       8Motion for Relief, Docket Entry No. 455, p. 8.

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5.2(a).       That provision advises parties to include in their filings

only the last four digits of a social security number or financial

account number and the year of an individual's birth.                     To the

court's know 1 edge,       the only documents     in thi s   case tha t    woul d

contain such information,            such as the Presentence Investigation

Report (Docket Entry No. 260) and Financial Affidavit (Docket Entry

No. 94), have been sealed.           Jackson requests that the court redact

opening and closing statements made on his behalf and testimony of

witnesses called by him, neither of which are applicable in this

case.     He also requests that the court redact statements made by

him, but he offers no grounds for doing           SO.9

        Accordingly,     the United States'      Motion to Dismiss        (Docket

Entry No.      481)    is GRANTED,    Jackson's Motion for Relief under 28

U.S.C.    §   2255    (Docket Entry No. 455)    is DISMISSED, and Jackson's

Motion to Redact (Docket Entry No. 477) is DENIED.

        SIGNED at Houston, Texas, on this 3rd day of October, 2014 .




                                                   ."     SIM LAKE
                                               UNITED STATES DISTRICT JUDGE




     9Jackson's request appears to be a recitation of the types of
transcripts listed in the Notice of Filing of Official Transcript
(Docket Entry No. 414), which advises parties that they have 21
days from the date of filing to request redaction of protected
information.

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